                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN (WATERLOO) DIVISION

UNITED STATES OF AMERICA,                       )
                                                )    No. 22-CR-2041
       Plaintiff,                               )
                                                )
vs.                                             )    UNRESISTED MOTION TO
                                                )    EXTEND DEADLINES
                                                )    FOR OBJECTIONS TO PSR
CHUCK DOMEYER,                                  )
                                                )
       Defendant.                               )


       COMES NOW, the Defendant Chuck Domeyer, by and through counsel with this

Motion to Extend Deadline to File Objections to the Presentence Investigation Report and hereby

states the following:

       1.      The Presentence Investigation Report in this matter was filed on February 1,

2023. Because of a trial that the defendant’s counsel had the week of February 6, 2023, defense

counsel has not had an opportunity to travel to Iowa County to meet with Mr. Domeyer.

       2.      A short extension is needed so that defense counsel can visit Mr. Domeyer. As a

result, Mr. Domeyer is requesting the extension to February 20, 2023 to file the objections to the

Presentence Investigation Report.

       3.      The government represented by AUSA Emily Nydle does not resist this motion.

       WHEREFORE, the Defendant respectfully requests this Court extend the deadline to file

objections until 5:00 p.m. on February 20, 2023.
               CERTIFICATE OF SERVICE

I hereby certify that on February 16, 2023, I electronically
filed the foregoing with the Clerk of the Court using the
ECF system which will send notification of such filing to      /s/Cory Goldensoph
the following:                                                 Cory Goldensoph         AT0002826
                                                               425 Second Street SE
Emily Nydle                                                    Suite 803
Assistant United States Attorney                               Cedar Rapids, Iowa 52401
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cc: Chuck Domeyer
                                                               ATTORNEY FOR DEFENDANT
